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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 

ZACHARIAH ROBERTSON individually and
on behalf of all others similarly situated,

Plaintiff, Civil Action No. 2:19-cv-1080
Vv. Hon. William S. Stickman, [V
ENBRIDGE (U.S.) INC.,

Defendant.

 

 

ORDER OF COURT

Plaintiff Zachariah Robertson initiated this action on behalf of himself and others similarly
situated, alleging violations by Defendant Enbridge (U.S.) Inc. (“Enbridge”), of both the
Pennsylvania Minimum Wage Act and the federal Fair Labor Standards Act. (ECF No. 1). A
motion to intervene pursuant to Federal Rule of Civil Procedure 24 was filed, by Cleveland
Integrity Services, Inc (“CIS”). (ECF No. 44). Cypress Environmental Management-TIR, LLC
(“TIR”) also filed a motion to intervene pursuant to Federal Rule of Civil Procedure 24. (ECF
No. 47). The case was referred to United States Magistrate Judge Lisa Pupo Lenihan for pretrial
proceedings in accordance with the Magistrate Judges Act, 28 U.S.C. §636(b)(1), and Local
Rules of Court 72.C and 72.D. |

Magistrate Judge Lenihan's Report and Recommendation, issued on April 13, 2020,
recommended that the motions to intervene be granted. (ECF No. 98). More specifically,
Magistrate Judge Lenihan determined that Potential Intervenors CIS and TIR - staffing agencies
that provided inspection services and employees assigned to work for Enbridge - met all the

requirements of Rule 24(a)(2) for intervention of right. Further, Magistrate Judge Lenihan found
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that permissive intervention under Rule 24(b) is also warranted. She recommended that
Intervenors CIS and TIR be added as party defendants. The parties were notified that they had
fourteen days to file any objections to Magistrate Judge Lenihan’s Report and Recommendation,
and that failure to do so would constitute a waiver of appellate rights.

Plaintiffs filed timely Objections on April 27, 2020, contending Magistrate Judge
Lenihan erred: (1) as a matter of law by “assuming” Plaintiff alleged that TIR and CIS are joint
employers when Plaintiffs are proceeding against Enbridge as a direct (or primary) employer
(ECF No. 107, pp. 3-7); (2) by failing to apply the required legal standards for intervention as of
right and permissive intervention (ECF No. 107, pp. 7-17); and, (3) by “making
recommendations as though TIR and CIS were already parties that could be liable for damages.”
(ECF NO. 107, p. 1). According to Plaintiffs, while TIR and CIS may be required to indemnify
Enbridge, “such indemnity obligation is attenuated....” (ECF No. 107, p. 1).

After its de novo review of the record and consideration of the parties’ pleadings, the
Court agrees with the analysis and disposition of the motions set forth by Magistrate Judge
Lenihan in her Report and Recommendation. It disagrees with Plaintiffs that “allowing TIR or
CIS to intervene will only inconvenience and prejudice Plaintiffs’ claims, confuse the fact finder,
and further hinder judicial economy.” (ECF No. 107, p. 18). Therefore, the Court overrules the
Objections lodged by Plaintiffs. Magistrate Judge Lenihan’s Report and Recommendation is
HEREBY ADOPTED as the Opinion of the Court.

AND NOW, this 1° day of May 2020, IT IS HEREBY ORDERED that the Motions to
Intervene filed by potential Intervenors Cleveland Integrity Services, Inc. and Cypress
Environmental Management-TIR, LLC (ECF Nos. 44 & 47) are GRANTED. The Clerk of

Court is ORDERED to amend Movants Cleveland Integrity Services, Inc. and Cypress
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Environmental Management-TIR, LLC to Defendants. The case caption shall be amended to

read as follows:

 

ZACHARIAH ROBERTSON individually and
on behalf of all others similarly situated,

Plaintiff,
V.

ENBRIDGE (U.S.) INC., CLEVELAND
INTEGRITY SERVICES, INC., and
CYPRESS ENVIRONMENTAL
MANAGEMENT-TIR, LLC

Defendants.

 

 

BY THE COURT:
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UNITED STATES DISTRICT JUDGE
